Case 1:18-cv-20023-FAM Document 11 Entered on FLSD Docket 03/26/2018 Page 1 of 5


                             IJNITED STATES DISTRIW COIJRT
                             SOIM N DISTRIW 0F M RIDA              FILED by           D .C.

                                                                       MA2 2 6 2018
  Incarcerated Entertainment, LLC
  and Efraim Diveroli,                                                STEVEN M LARIMORE
                                                                      CLERKU à DlsT.cT.
             Plaintiffs,                                               g;D ofFtA -r
                                                                                  JIAMI
  VS .                                        Case No.: 1:18-cv-20023-FAM
  Matthew Bevan Cox,
             Defendant.
                            /

                      v I(l lx G RULE 59(e) 1D ALTER M D AMFND
                  N s-     T's FD RBARY 27, 2018 0RDER OF DISMISSAL

         Hatthew Cox sought removal of a State of Florida action brought against
 him by Incarcerated Entertainment, LLC and Efraim Diveroli. Ihis court sua
 sponte found that the underlying state court action is related to two pending
 actions in the United States District Court for the Middle District of -

 Florida. (Doc. 8). Hr. Cox agrees with the court, the actions in Tampa, and
 this action are duplicative, thus this court dismissed the removal without

 prejudice.
         Ihe dismissal without prejudice, however,may have detriment to Mr. Cox
 through the expiration of time for removing the duplicative case to federal

 court. In which instancey this dismissal would effectively be with prejudice.
 Cf. Justice v. Pnited Statesy 6 F.3d 1474, 1482 n.5 (11th Cir. 1993)(a
 dismissal without prejudice after the statute of limitations expired is
 tantanount to a dismissal with prejudice). Here, Mr. Cox had 30 days from the
 cocmencement of the state court action to remove the action to federal court.

 28 U.S.C. j 1446(b). Mr. Cox received the underlying complaint on December 7,

                                         1
Case 1:18-cv-20023-FAM Document 11 Entered on FLSD Docket 03/26/2018 Page 2 of 5



 2t;17, thus the time for ranoval -- at least facially -- has expired. Ihbs,
 this court should apply a more stringent standard for determining whether
 dismissal or removal is proper.
       Ihis action was originally filed in the Circuit Court of the Eleventh
 Judicial Circuit, in and for Miami-Dade Cdnnty, Florida. Mr. Cox sought
 renoval to this court on the basis of federal question jurisdiction. Mr. Cox
 only sought removal to this court -- rather than the Middle District of
 Florida -- because he was required to do so .   28 U.S.C. j 1446(a). In conjunc-
 tion with the filing of his Notice of Removal, Mr. Cox initiated an
 independent civil action in the Hiddle District of Florida against the same
 plaintiffs here. See Matthew Cox v. Incarcerated Entertainmenty41 11., No.

 8:17-cv-O31O8-HSS-JSS (H.D. F1a.)-
       Further, Mr. Cox as an indigent prisoner lacks the financial resources
 to incure multiple filing fees. Ihe payment of the $400 filing fee here
 posed a burden on Mr. Cox and would constitute a significant barrier to
 refiling. Thereby, creating a practical as well as legal barrier to his
refiling this matter.

      Consequently, this court's sua sponte order will generate piecemeal
litigation not only in two'different forums, kut in two different sovereign-
ties that have less than a perfect identity of procedure . Which in turn will
wast the resources of the parties and the courts.
      Mr. Cox suggests that a better soultion of his ranoval motion is to
transfer the matter to the Middle District of Florida y and allow the court
that has presided over this dispute for more than two years continue to
address the cause and controversy. It is noteworthy that the state court

plaintiffs were also the plaintiffs in the original Tampa action (Incarcerated



                                       2
Case 1:18-cv-20023-FAM Document 11 Entered on FLSD Docket 03/26/2018 Page 3 of 5



  Entertainment v. Warner Bros., No. 8:16-cv-O1302-T-HSS-ASS), thus the
  plaintiffs cannot credibly complain of an inconvenient forum.
        In sum, Hr. Cox requests this court alter and amend its dismissal order ,
  to instead transfer the removal action to the Taupa federal court that has
  control over duplicative actions. Alternatively, Hr. Cox requests this court

 amend ità order to provide for a refund (or transfer to the Tanpa court) of
 the filing fee in order that Mr. Cox can afford to refile in Tampa (as
 suggested) and such other felief as this court deems appropriate or fair.
       Respectfully suhnitted on this 19th day of March , 2018 by




                                                 Matthew Cox
                                                 Register No. 40171-018
                                                 FCI Coleman Low
                                                 P.O. Box 1031
                                                 Coleman, FL 33521-1031
Case 1:18-cv-20023-FAM Document 11 Entered on FLSD Docket 03/26/2018 Page 4 of 5


                              CERTIFICATE OF SERVICE


        Ij Matthew Cox, hereby certify that on the 19th day of Marchy 2018,

  I geiled a copy of the f6regoing Motion Under Rule 59(e) in the U.S. Mail
  with postage fully prepaid thereon to the following:

  MAllY/u TROCCOLI
  taw Offices of Hatthew Troccoli
  Attorney for the Plaintiffs
  2250 SW 3rd Ave.y Ste. 3O3
  Hiami, FL 33129

  CLERK OF COURT
 Circuit Court of the Eleventh Judicial Circuit
 In and For Hiami-Dade County, Florida


       Please note that 1 have delivered the foregoing motion to the Bureau
 of Prisons mail-room officer who is responsible for handling outgoing
 prisoner legal mail and have done so for the purpose of taking advantage of
 the prisoner legal mail-box rule.


                                           = p 2
                                          Matthew Cox
                                          Register No. 40171-018
                                          FCI Coleman tow
                                         P.O. Box 1031
                                          Cslpmnny FL 33521-1031
                                                                          c 5o of o
   Case 1:18-cv-20023-FAM Document 11 Entered on FLSD Docket 03/26/2018 Page
                                                                                   O X M X
                                                                                   5
                                                                                  c.     v
                                                                                           X
                                                                                         o x*
                                                                         R ' ,                               u -.
                                                                          7
                                                                          4 & .
                                                                          r
                                                                                  y-
                                                                                   -                         --v
                                                                                                               .v-,>--
                                                                                   à        o                    -
                                                                                   -
                                                                                            x P o
                                                                                                -r
                                                                                       m
                                                                                       r- -
                                                                                          o             g > T>

   X
                                                                                       t/   -
                                                                                                .                %
   />                                                                                               r
                                                                                                    ô
   % to                                                                                <>               p
                                                                                       N            r
   Q:G1
   <m
   >                                                                                                    C

                                                                                                    *
          F.C.O.C'OLEMAN
            Alt 1
                '
                iO OM                                                                               <
           /6 IJ.E.54TH TERR                                                                            I
            OLEMAN,FLORIDA
                                                                                                        *
           3521
                                                                                                        t-
          THE ENCLOSED LEU ER WAS
           ROG ISSED THROUGH SPECIAL
           AIU< .THE LETTER HAS BEEN                                          p.
           EITHER OPENTD OR fNSPEC;PE3.
   lllI
      FTHEb'/RITERRAI   SESAAHI
      on A f>FiCIBLEM ovER î
                              QLIFJST
                               CH Tl
                                     IGi
                                    -lps
                                         M                                    &

   X tFv'Jtj,clL
             h'w1
                nls,!HTO
                      ASRETURN
                         JURISDICTI
                                  ON,
                                 THE  YOU
                                     MAIL                c < CD '
                                                                lx c Q -Y
          F(3q FUR ''FIER INFO RMATION 0 81
                                                         w E;u1(
                                                         z      D
                                                                :5a
                                                              . -
                                                                   w q cb
          CLA7 ?IFICJN,
                      IION.tF THE W RITER                *t.U.. Z o.
                                                         r
                                                         .
                                                                   *XO*-'Y
          ErLCILOSE')CORRESPONDENCE                      pm
                                                          r- =
                                                             B'v -
                                                                 o%ï)
   O FoR FORV'
             'ARDfNG TO ANOTHER                          tb to g R
                                                         V       t3 o
                                                                    c.
   I ADDRESSI'E,PLEASE RETURN THE                        * k? > * x
    IIEncLost;!II
                STo THE ABOVE                                MD
                                                             C      < o
                                                                    m o
X O ADafllEssd%.                                                      c
                                                                      n
X t3% Zö-eJLY                                                            =
                                                                         C)
                                                                         c
* Ill DATE              MAILR M AFF                                      A
   n
   *
   >




                                              )
                                              t
                                              1


                                              ï   i
